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    Begin forwarded message:

    From: Lauren Regan <lregan@cldc.org>
    Subject: confidential
    Date: August 30, 2017 at 4:59:47 PM MDT
    To: Bill Quigley <quigley77@gmail.com>




    Hi Bill, attached is the current version of the joint defense agreement CLDC is using. Please review and feel free to
    offer up any edits/revisions, etc. If you are ok with it as to form, I’m happy to fill in the specifics for all of our
    signatures. Thank you!
    Lauren
    _________________
    Assert Your Rights, We’ve Got your Back

    The Civil Liberties Defense Center
    Lauren C. Regan, Attorney at Law
    Executive Director
    783 Grant Street, Suite 200
    Eugene, Oregon 97402
    541.687.9180 phone
    Email: lregan@cldc.org
    WWW.CLDC.ORG

    FOR MORE INFORMATION OR TO DONATE TO THE CLDC, PLEASE CONTACT US AT
    info@cldc.org or donate@cldc.org. Our website is www.cldc.org.

    NOTICE: This and any attached documents are intended only for the use of the person to whom this is addressed
    and may contain information that is privileged, confidential, or work product and exempt from disclosure under
    applicable law. If you are not the intended recipient, any use, dissemination, distribution, or copying of this
    communication is strictly prohibited, and you are hereby requested to telephone the sender immediately about the
    error and to delete this message and attached documents and destroy any printed copies.



  Assert Your Rights, We’ve Got your Back

  The Civil Liberties Defense Center
  Lauren C. Regan, Attorney at Law (she/her)
  Executive Director
  1430 Willamette St. #359
  Eugene, Oregon 97401
  Unceded Kalapuya land
  541.687.9180 phone
  Email: lregan@cldc.org
  WWW.CLDC.ORG
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